                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS

FlavaWorks Entertainment, Inc.,                    )
Blatino Media, Inc.,                               )
                     Plaintiff,                    )        Case No. : 1:24-cv-09725
                                                   )
        v.                                         )
                                                   )        JURY TRIAL DEMANDED
Joel Lewitzky,                                     )
John Doe 1 (username augire2)                      )
John Doe 2 (username batsu454)                     )
John Doe 3 (username blackbike20)                  )
John Doe 4 (username Cards1uk)                     )
John Doe 5 (username Chaman)                       )
John Doe 6 (username Clorino404)                   )
John Doe 7 (username Daledale)                     )
John Doe 8 (username Daleorama)                    )
John Doe 9 (username Dave858)                      )
John Doe 10 (username ekospirit)                   )
John Doe 12 (username Hubrys)                      )
John Doe 13 (username Joewija)                     )
John Doe 14 (username Lilraverprep)                )
John Doe 15 (username Luvpecs)                     )
John Doe 17 (username Paulrc)                      )
John Doe 18 (username Slchung)                     )
John Doe 19 (username Thomblack)                   )
John Doe 20 (username Trashcat)                    )
John Doe 21 (username Yatjug)                      )
John Doe 23 (username xaoslao)                     )
       Defendants.                                 )


                                    AFFIDAVIT OF JULIE EVANS

I, Julie Evans, being duly sworn, depose and state as follows:

    1. I am a resident of Illinois, and if called as a witness, I can attest to the following:

    2. I am a researcher employed by FlavaWorks Entertainment, Inc., and I have conducted extensive
       research to identify the individuals who own or control certain email addresses associated with
       unauthorized activities related to FlavaWorks Entertainment, Inc.’s intellectual property.

    3. Through my research, I have identified the following individuals, herein referred to as “John
       Does,” who own or control specific email addresses. It is imperative to subpoena the associated
       email service providers to obtain further identifying information, including but not limited to IP
    address logins, personal names, addresses, phone numbers, and any associated email accounts or
    personal identifiers.

4. Identified Individuals and Email Addresses:
       ○ John Doe 1 (username: augire2)
                ■ Email: augire2@hotmail.com
       ○ John Doe 2 (username: batsu454)
                ■ Email: trigon20067@gmail.com
       ○ John Doe 4 (username: Cards1uk)
                ■ Email: cardukuk@yahoo.co.uk
       ○ John Doe 5 (username: Chaman)
                ■ Email: treytrey1985@gmail.com
       ○ John Doe 7 (username: Daledale)
                ■ Email: ladale_block@yahoo.com
       ○ John Doe 8 (username: Daleorama)
                ■ Email: daleorama@att.net
       ○ John Doe 9 (username: Dave858)
                ■ Email: dave858@gmail.com
       ○ John Doe 12 (username: Hubrys)
                ■ Emails:
                        ■ email.shane.gordon@gmail.com
                        ■ hubrys666@yahoo.com
       ○ John Doe 15 (username: Luvpecs)
                ■ Emails:
                        ■ whitewolf4772@comcast.net
                        ■ dpremont4@yahoo.com
                        ■ swimminpartyboi@yahoo.com
       ○ John Doe 17 (username: Paulrc)
                ■ Email: Paulwillock@Aol.Com
       ○ John Doe 18 (username: Slchung)
                ■ Email: end_to_end@yahoo.com
                ■ IP Address: 174.52.161.5 (Comcast)
       ○ John Doe 20 (username: Trashcat)
                ■ Email: ggrondin@hotmail.com
                    IP Address: 174.52.161.5 (Comcast)
       ○ John Doe 23 (username: xaoslao)
                ■ Email: elruken@gmail.com

5. Affiant’s Statement of Truth: I declare under penalty of perjury that the foregoing is true and
   correct to the best of my knowledge and belief.
